        Case 1:24-cv-12131-LTS          Document 1       Filed 08/19/24      Page 1 of 32




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                                    )
A Woman’s Concern, Inc. d/b/a Your Options          )
Medical Centers,                                    )
                                                    )
        Plaintiff,                                  )
                                                    )
vs.                                                 )        Civil Action No.:
                                                    )
Maura Healy, Governor of Massachusetts, sued in )
her individual and official capacities; Robert      )        COMPLAINT
Goldstein, Commissioner of the Massachusetts        )
Department of Public Health, sued in his individual )
and official capacities; Reproductive Equity Now )
Foundation, Inc.; Rebecca Hart Holder, Executive )
Director of Reproductive Equity Now Foundation, )
Inc.,                                               )
                                                    )
        Defendants.                                 )
                                                    )


       Plaintiff, A Woman’s Concern, Inc. d/b/a Your Options Medical Centers (hereinafter

“Your Options Medical,” “YOM,” or “Plaintiff”), brings this action for declaratory, compensatory,

and injunctive relief to vindicate and defend its constitutional and civil rights to provide medical

services without fear of retaliation and threat because of its political and religious views. Maura

Healey, Governor of Massachusetts, along with Commissioner Robert Goldstein (“Defendants”),

have engaged in a pattern of conduct to target YOM and other pregnancy resource centers

(“PRCs”) in Massachusetts, thus depriving Plaintiff of its rights to freedom of speech and free

exercise of its religion as guaranteed by the First Amendment to the U.S. Constitution. In addition,

Defendants have engaged in impermissible viewpoint discrimination against Plaintiff on the basis

of its religious and political speech in violation of the Equal Protection clause of the Fourteenth

Amendment. The Defendants’ “trusted partner” Reproductive Equity Now Foundation, Inc.



                                                 1
        Case 1:24-cv-12131-LTS          Document 1        Filed 08/19/24      Page 2 of 32




(“REN”), led by Director Rebecca Hart Holder (“Defendants”), have similarly acted – under color

of law – to deprive Plaintiff of its rights to freedom of speech and free exercise of its religion as

guaranteed by the First Amendment, and to discriminate against Plaintiff on the basis of its

religious and political speech in violation of the Fourteenth Amendment.

       I.      PRELIMINARY STATEMENT

       1.      Government officials can express their views; “[w]hat [they] cannot do, however,

is use the power of the State to punish or suppress disfavored expression.” NRA of Am. v. Vullo,

602 U.S. 175, 188 (2024). Such conduct is “presumptively unconstitutional.” Id. This case is

necessitated by an overt viewpoint-based campaign of harassment, suppression, and threats against

YOM and other PRCs. Directed by Governor Healey and the other Defendants, this campaign

involves selective law enforcement prosecution, public threats, and even a state-sponsored

advertising campaign with a singular goal – to deprive YOM, and groups like it, of their First

Amendment rights to voice freely their religious and political viewpoints regarding the sanctity of

human life in the context of the highly controversial issue of abortion.

       2.      Defendants’ retaliation and selective-enforcement campaign accuses YOM and

other PRCs of being a public health threat, of carrying out false and misleading advertising, and

of other falsehoods, while actively urging citizens to report PRCs to State law enforcement.

Defendants’ campaign is not isolated; in fact, it began when Governor Healey, as Attorney General,

issued consumer advisories making it emphatically clear that pro-life PRCs are not welcome in

Massachusetts because of their views and speech. Moreover, Defendants have knowingly targeted

pro-life PRCs for repeated enforcement actions without a proper basis and based solely on REN’s

unwarranted complaints, in violation of their rights to equal protection under the law.




                                                 2
        Case 1:24-cv-12131-LTS           Document 1        Filed 08/19/24      Page 3 of 32




       3.      Defendants’ campaign of intimidation has directly contributed to the decision of

one of YOM’s doctors to stop practicing for YOM. His departure created significant costs for

YOM, including requiring YOM to turn patients away. Plaintiff YOM has also been forced to

operate in a culture of fear and harassment from the State, and continues to face unprecedented

investigations, including unnecessary subpoenas, despite a prior state investigation clearing YOM

of any wrongdoing.

       4.      Absent relief, Defendants’ blacklisting campaign will continue to damage YOM

and its members, as well as endanger the free speech, free exercise, and association rights

guaranteed by the Constitution. In fact, these threats are likely to have their desired effects forcing

YOM to stop operating if the unwarranted intimidation tactics continue. It is well-settled that

viewpoint discrimination applied through threats of legal sanctions and other means of coercion

and intimidation violates the United States Constitution where, as here, such measures chill

protected First Amendment activities. That very kind of selective censorship scheme is evidenced

here. Moreover, the threats in this case were targeted explicitly against the religious speech of

PRCs in violation of the Free Exercise Clause.

       II.     PARTIES

       5.      Plaintiff, Your Options Medical, is a religious-based nonprofit organization,

organized under the laws of the Commonwealth of Massachusetts, with a principal place of

business at 103 Broadway, Revere, Suffolk County, Massachusetts.

       6.      Defendant, Maura Healey, is the current governor of Massachusetts and the former

Attorney General of Massachusetts. She is named in this action in her individual and official

capacities.




                                                  3
          Case 1:24-cv-12131-LTS          Document 1        Filed 08/19/24       Page 4 of 32




        7.      Defendant, Robert Goldstein, is the Massachusetts Commissioner of Public Health.

He is named in this action in his individual and official capacities.

        8.      Defendant Reproductive Equity Now Foundation, Inc. is a 501(c)(3) nonprofit

organization with the organizational goal of “Advancing reproductive justice and eliminating

barriers to safe, legal abortion care.” https://reproequitynow.org/what-we-do.

        9.      Defendant Rebecca Hart Holder, is and was at all times relevant to this Complaint,

Executive Director and/or President of Defendant Reproductive Equity Now Foundation, Inc.

        III.    JURISDICTION AND VENUE

        10.     This civil rights action raises federal questions under the United States Constitution,

particularly the First and Fourteenth Amendments, enforceable under the Civil Rights Act, 42

U.S.C. § 1983 et seq.

        11.     This Court has original jurisdiction over these federal claims pursuant to 28 U.S.C.

§ 1331.

        12.     This Court has authority to award the requested declaratory relief pursuant to 28

U.S.C. §§ 2201–02; the requested compensatory and injunctive relief pursuant to 28 U.S.C. § 1343

and Fed. R. Civ. P. 65; and costs and attorneys’ fees under 42 U.S.C. § 1988.

        13.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because Defendants

reside in this district and all the acts described in this Complaint occurred in this district.

        IV.     FACTUAL ALLEGATIONS

        a.      Background

        14.     Plaintiff was founded in 1991 by three Christian families in Boston who saw the

need to offer women in unplanned pregnancies a safe place to receive help and support in choosing

life.


                                                   4
        Case 1:24-cv-12131-LTS            Document 1        Filed 08/19/24      Page 5 of 32




       15.        Plaintiff believes that all human life is sacred and made in the image of God.

       16.        As a Christian organization, Plaintiff is committed to aiding women and couples

facing unexpected pregnancies by providing ultrasounds, counseling, and meeting the practical

and material needs that may otherwise cause them to consider abortion.

       17.        As a life-affirming entity, Plaintiff does not perform abortions, does not refer for

abortions, and does not advertise that it performs abortions.

       18.        The heart of Plaintiff’s ministry is to meet the emotional, relational, material, and

spiritual needs of mothers and their babies.

       19.        All of YOM’s services for pregnant women are provided free of charge, including

pregnancy testing, ultrasounds, and pregnancy options counseling, as well as the provision of baby

clothes, diapers, and other supplies to mothers of newborns.

       20.        Plaintiff is a medical clinic and has been licensed by the Massachusetts Department

of Public Health (“DPH”) since 1999.

       21.        Plaintiff currently operates multiple medical pregnancy centers and a mobile

medical clinic.

       22.        Its medical licensure allows Plaintiff to offer lab-quality pregnancy testing and

ultrasounds, which it has provided to women for the last twenty-five years.

       23.        Plaintiff has renewed its licensing with the DPH every two years, as required by

law.

       24.        During the twenty-five years that Plaintiff has operated as a medical clinic in

Massachusetts, it has received zero (0) patient complaints.

       25.        Plaintiff operates a client-facing website, stating: “As a non-profit, we are able to

provide our services at no cost to you because of the generosity of our donors. We do not provide



                                                    5
       Case 1:24-cv-12131-LTS          Document 1        Filed 08/19/24      Page 6 of 32




pre-natal care or abortion services so there is no financial gain or any other pressure for you to

make a decision regarding your pregnancy.” Your Options Medical: Free Pregnancy Testing and

Ultrasound, https://youroptionsma.org (last visited Aug. 19, 2024) (attached as Exhibit A). This

same statement also appears on every other page of the website.

       26.     DPH is vested with authority to regulate medical clinics in the State, to initiate

investigations and civil enforcement actions against regulated entities, and to refer potential

criminal violations to the Massachusetts Attorney General for prosecution.

       b.      Violence and Vandalism Against Pro-Life Organizations and Persons
               (Including Plaintiff) in Recent Years

       27.     Immediately following the U.S. Supreme Court’s decision in Dobbs v. Jackson

Women’s Health Organization, PRCs were made targets of violence and vandalism. See Micaiah

Bilger, New Study Shows Pro-Life Groups Have Been Attacked 22 Times More Than Pro-Abortion

Groups, LifeNews.com (Nov. 1, 2022, 5:04 PM), https://www.lifenews.com/2022/11/01/study-

pro-life-groups-have-been-attacked-22-times-more-than-pro-abortion-groups/; see also Much

More Violence Against Pro-Life People Than Against Pro-Choice Since the Supreme Court Leak

on May 3rd: 135 Attacks on Pro-Life People Between The Supreme Court Leak on May 3rd and

September 24th, 2022, Only 6 Attacks Were Identified in the Other Direction, Crime Research (Oct.

31,   2022),   https://crimeresearch.org/2022/10/136-pro-abortion-attacks-between-the-supreme-

court-leak-on-may-3rd-and-september-24th-2022/; see also Micaiah Bilger, Leftists Vandalize

Church and Pregnancy Center on the Same Night, LifeNews.com (Oct. 20, 2022),

https://www.lifenews.com/2022/10/20/leftists-vandalize-church-and-pregnancy-center-on-the-

same-night/.

       28.     Plaintiff is one of the many pro-life organizations listed in these articles that was

targeted for vandalism.

                                                 6
        Case 1:24-cv-12131-LTS           Document 1       Filed 08/19/24      Page 7 of 32




       29.       On June 26, 2022, two days after the Dobbs decision was published, Plaintiff’s

building was vandalized with the word “SCAM” written in spray paint. (Attached as Exhibit B).

       30.       Plaintiff was again targeted for vandalism on July 21, 2022, and July 28, 2022.

       31.       No one to YOM’s knowledge has been prosecuted for the repeated criminal acts

perpetrated against it.

       c.        The State’s False Statements Against YOM

       32.       In response to these acts of vandalism, Massachusetts officials did not pursue a

public awareness campaign to bring these vandals to justice.

       33.       Instead, government officials took affirmative steps to contribute to, and escalate,

the hostile rhetoric against pro-life organizations, such as YOM.

       34.       On July 6, 2022, just weeks after YOM was first vandalized, then-Attorney General

Maura Healey issued a factually baseless “advisory” stating: “While crisis pregnancy centers claim

to offer reproductive healthcare services, their goal is to prevent people from accessing abortion

and contraception.” Press Release, AG Healey Warns Patients About Crisis Pregnancy Centers:

Advisory Informs People That Crisis Pregnancy Centers Do Not Offer Abortion or Comprehensive

Reproductive      Care,   Office   of Attorney     General    Maura     Healey   (July   7,   2022),

https://www.mass.gov/news/ag-healey-warns-patients-about-crisis-pregnancy-centers (Attached

as Exhibit C).

       35.       The advisory also states that “while Crisis Pregnancy Centers may appear to be

reproductive health care clinics, they do not provide abortion care or referrals, contraception, or

other reproductive health care, despite what they may advertise.” Id. (emphasis added).

       36.       In that same advisory, Rebecca Hart Holder, Executive Director of Defendant REN,

also without factual basis, stated: “Crisis pregnancy centers, or fake clinics, are dangerous



                                                  7
        Case 1:24-cv-12131-LTS          Document 1        Filed 08/19/24      Page 8 of 32




facilities that use deceptive advertising to deceive pregnant people into believing that they

provide abortion care, when in reality, many do not even have doctors on staff to discuss the full

range of health care options with clients.” Id. (emphasis added).

       37.     Just fifteen days after this consumer alert calling pro-life pregnancy centers “fake,”

“dangerous,” and “deceptive,” on July 21, 2022, one of Plaintiff’s buildings was again vandalized

with spray paint.

       38.     Spray painted on the building were the words “IF ABORTION’S NOT SAFE

NEITHER ARE YOU.”

       39.     Also spray painted on the building was the symbol A with a circle around it –

commonly known as the “Anarchy symbol.” (Attached as Exhibit D).

       40.     Eight days later, on July 28, 2022, Plaintiff was targeted a third time by vandals,

this time with posters stating: “Shut Down Your Options Medical;” “This is a Fake Clinic.”

(Attached as Exhibit E).

       41.     The vandals’ accusation of YOM being a “fake clinic” directly mirrored the

accusations made by Defendants.

       42.     In October of 2023, a complaint against Plaintiff was made to the Executive Office

of Health and Human Services and the DPH.

       43.     That complaint alleged that “[b]ased on recent press reports, [Plaintiff] Your

Options Medical appears to engage in intentionally misleading and deceptive practices about the

services offered to people seeking abortion and pregnancy-related care by advertising ‘free

pregnancy testing and ultrasounds’ with ‘immediate results’ on the mobile unit itself while stating

that, in fact, the results are ‘preliminary findings.’” (emphasis added) (Attached as Exhibit F).




                                                 8
        Case 1:24-cv-12131-LTS            Document 1       Filed 08/19/24       Page 9 of 32




        44.     Importantly, this complaint was not made against Plaintiff by any patient or person

with first-hand knowledge, but rather by Defendant Hart Holder, who openly and publicly works

in collaboration with the state of Massachusetts to target pro-life pregnancy centers. (See e.g.,

Exhibits C, G, and H).

        45.     In reality, YOM performs pregnancy tests and ultrasounds with immediate results,

but the final results are confirmed by a physician, then provided to the patients no more than

twenty-four to forty-eight hours later.

        46.     On the basis of Defendant Hart Holder’s complaint, the DPH conducted a review

of Plaintiff’s advertising, but it did not, nor has it ever, requested or required Plaintiff to make any

changes to the language on the mobile unit.

        47.     The sole change DPH required Plaintiff to make was an amendment to its Policies

and Procedures Manual concerning the criteria for ultrasound exams eliminating any language that

allowed for sonographer discretion.

        48.     Plaintiff made that correction, and DPH issued a letter and summary statement to

Plaintiff on February 29, 2024, clearly indicating that YOM is in compliance with state licensing

requirements:

        On February 19, 2024, we conducted a desk audit follow-up review to verify that
        your facility had achieved and maintained compliance. The findings indicate that
        all deficiencies have been corrected. You are reminded that facilities are obligated
        to correct all deficiencies and then remain in compliance. An unannounced visit
        may be conducted at any time at the discretion of the MA Department of Public
        Health Licensure Unit.

(Attached as Exhibit I).

        49.     The deficiency noted by DPH was not remotely related to the allegations contained

in Defendant Hart Holder’s October 2023 complaint or to the allegations from the other Defendants

that the Plaintiff as a pro-life pregnancy center is engaged in deceptive and dangerous activities.

                                                   9
       Case 1:24-cv-12131-LTS             Document 1        Filed 08/19/24    Page 10 of 32




        50.      Despite clearance from DPH, the Massachusetts Board of Registration in Medicine

(“Board”) then began an investigation of Plaintiff’s medical director based on Defendant Hart

Holder’s October 2023 complaint.

        51.     As part of that investigation, the Board served two subpoenas, both of which were

both ad testificandum and duces tecum, on Plaintiff: the first was issued on December 21, 2023;

the second was issued on June 5, 2024.

        52.     Plaintiff complied with the first subpoena and provided the responsive documents

in its possession, though many of the documents requested did not concern Plaintiff’s mobile unit

[the subject of the October 2023 complaint by REN].

        53.     Rather, the requested documents related to Plaintiff’s three permanent sites.

        54.     In addition, most of the documents subpoenaed pertained to a period of time during

which Plaintiff’s mobile unit was not in service; that is, January 1, 2023, to December 21, 2023.

        55.     Because investigative records and/or information obtained by the Board of

Registration in Medicine are not confidential, they are and will be accessible to Defendant Hart

Holder as the complainant. G.L. c. 112, Sec. 5 (“[I]nvestigative records or information of the board

shall not be kept confidential after the board has disposed of the matter under investigation . . . nor

shall the requirement that investigative records or information be kept confidential at any time

apply to requests from the . . . . complainant . . . .”).

        56.     In using State Boards to circumvent the confidentiality of patient records, it appears

that Defendant Hart Holder is utilizing (or colluding with) the government to conduct a fishing

expedition into Plaintiff and its medical director solely because it is operating a pro-life pregnancy

center. Sam Turken, State Department of Public Health Warns Anti-Abortion Centers Against

Using Deceptive Tactics, wgbh.org (Jan 5, 2024), https://www.wgbh.org/news/2024-01-05/state-



                                                    10
       Case 1:24-cv-12131-LTS         Document 1       Filed 08/19/24      Page 11 of 32




department-of-public-health-warns-anti-abortion-centers-against-using-deceptive-tactics

(emphasis added) (attached as Exhibit J).

       57.     On January 3, 2024, DPH issued a press release stating: “Many of these centers

advertise themselves as full-service reproductive health care clinics, yet they do not provide

abortion care or abortion referrals, contraception, or other important reproductive health care

services. Most centers are affiliated with national advocacy or religious organizations that

provide funding and support to advance an anti-abortion agenda.” Press Release, Maintaining

Integrity, Accessibility, and Transparency in Reproductive Care, DPH (Jan. 3, 2024),

https://www.mass.gov/news/maintaining-integrity-accessibility-and-transparency-in-

reproductive-care (emphasis added) (attached as Exhibit K).

       58.     The January 3, 2024, DPH press release also stated: “In Massachusetts, there are

nearly 30 anti-abortion centers that operate in the state, with only four currently subject to DPH

licensure under state law.” Id. “However, if these facilities are providing medical care or

advertising services that are consistent with a clinic, DPH . . . may be involved in investigating

complaints regarding allegations about provision of inappropriate medical services or staff

members performing services without the required credentials. This work may be done in

collaboration with the Attorney General’s Office’s Reproductive Justice Unit.” Id.

       59.     In addition, the January 3, 2024, DPH press release stated that “[t]he Department

of Public Health actively seeks feedback and complaints from individuals who have had

concerning experiences with anti-abortion centers as well as from other stakeholders who have

information about questionable practices.” Id. (emphasis added).

       60.     Finally, the January 3, 2024, DPH press release indicated that it is “focused on

educating the public about the facilities that provide comprehensive reproductive care and those



                                               11
       Case 1:24-cv-12131-LTS         Document 1        Filed 08/19/24    Page 12 of 32




that practice deceptive tactics to limit people’s choices and prevent abortions. DPH will

increase its efforts to educate the public through a multi-faceted awareness campaign in 2024.”

Id. (emphasis added).

       61.     Along with the January 3, 2024, press release, Defendant Goldstein issued a

statement to “Massachusetts licensed physicians, physician assistants, nurses, pharmacists,

pharmacies, hospitals, and clinics,” as a “Reminder to Licensees Regarding Obligations and

Providing Standard of Care.” (Attached as Exhibit L).

       62.     Within that statement, Goldstein wrote that DPH “takes patients’ rights and the

provision of high quality, evidence-based, safe care by all providers seriously. This includes

providing patients accurate and complete information for informed decision-making,

accurate portrayal and advertising of clinical services, and licensees practicing within their

scope of practice and their license.” Id.

       63.     Among other things, Goldstein’s statement also reminded doctors that “[f]ailure to

adhere to the staffing requirements of 105 CMR 140.000 could not only jeopardize a clinic

license through administrative action including licensure suspension or revocation, but may

also result in the referral of licensed providers deemed out of compliance to the appropriate

licensing board. Entities and individuals may be referred to the Attorney General’s Office

by DPH for prosecution of deceptive practices by holding the entity out as a clinic, or

performing unlicensed medical services.” Id.

       64.     This statement was featured on the DPH webpage containing the press release

regarding “anti-abortion centers” and was referred to as “guidance” for Massachusetts medical

professionals. Press Release, Maintaining Integrity, Accessibility, and Transparency in




                                               12
       Case 1:24-cv-12131-LTS           Document 1        Filed 08/19/24      Page 13 of 32




Reproductive Care, DPH (Jan. 3, 2024), https://www.mass.gov/news/maintaining-integrity-

accessibility-and-transparency-in-reproductive-care (emphasis added) (attached as Exhibit K).

       65.     When viewed in the context of the statements made by Defendant Goldstein in the

press release and the fact that it is linked on the press release webpage, it is clear that Defendant

Goldstein issued this statement to threaten pro-life clinics and their doctors in line with the actions

that have already been taken against YOM and its medical director.

       66.     In an effort to continue and expand the campaign against YOM and other PRCs, on

June 10, 2024, Defendant Governor Healey’s administration launched a “first-in-the-nation”

campaign against pro-life pregnancy centers throughout Massachusetts which included Plaintiff.

       67.     The press release announced that “[t]he Healey-Driscoll Administration today

launched a first-in-the-nation public education campaign highlighting the dangers and potential

harm of anti-abortion centers, also called ‘crisis pregnancy centers.’ Anti-abortion centers often

look like medical facilities and purport to offer the full spectrum of reproductive health care while,

in reality, they often mislead people about their options if they are pregnant and dissuade

them from accessing abortions.” Press Release, Healey-Driscoll Administration Launches First-

in-the-Nation Public Education Campaign on the Dangers of Anti-Abortion Centers, Executive

Office of Health and Human Services (June 10, 2024), https://www.mass.gov/news/healey-

driscoll-administration-launches-first-in-the-nation-public-education-campaign-on-the-dangers-

of-anti-abortion-centers.

       68.     Defendant Healey stated that the campaign “includes protecting patients from the

deceptive and dangerous tactics that anti-abortion centers often use to stop people from

accessing comprehensive reproductive services.” Id.




                                                  13
       Case 1:24-cv-12131-LTS            Document 1      Filed 08/19/24       Page 14 of 32




       69.     Lieutenant Governor Kim Driscoll stated “[t]he troubling practices of anti-abortion

centers serve to undermine the trust that people should have in our health care system. . . .

Education and accurate information can help counter the misinformation and unethical tactics

these centers use to prey on people at a particularly vulnerable time.” Id.

       70.     According to that press release, “[t]his public education campaign . . . will appear

on social media platforms, billboards, radio, and transit, [and] was funded through a $1 million

investment that the Massachusetts legislature passed as part of its FY2023 supplemental budget.”

Id.

       71.     Defendant Goldstein stated that the State’s campaign “counter-punches to the vast

amount of misinformation and disinformation that these centers peddle every day, deceiving

people who may be frightened or confused . . . . As the commissioner of public health, I’m resolute

about calling out this deception for what it is: a public health threat. When people are denied

factual information and the freedom to make fully informed decisions about their reproductive

health, it can lead to worse mental and physical outcomes.” Katie Lannan, Mass. Officials Launch

Information Campaign Warning Against Anti-Abortion Centers, wgbh.org (June 10, 2024),

https://www.wgbh.org/news/politics/2024-06-10/mass-officials-launch-information-campaign-

warning-against-anti-abortion-centers.

       72.     Further, “[t]he campaign was created by the Department of Public Health (DPH)

in collaboration with the Reproductive Equity Now Foundation . . . .” Id.

       73.     Since the government launched its campaign, billboards, posters, and ads are now

present throughout Massachusetts. (Examples attached as exhibit M).

       74.     DPH operates and maintains a page on its website entitled “Avoid Anti-Abortion

Centers.” On the main webpage, DPH states, “[Anti-abortion centers] may mislead you about your



                                                 14
       Case 1:24-cv-12131-LTS            Document 1        Filed 08/19/24       Page 15 of 32




options if you’re pregnant and can put your health at risk.” Avoid Anti-Abortion Centers, Mass.gov,

https://www.mass.gov/avoid-anti-abortion-centers (last visited Aug. 8, 2024) (attached as Exhibit

N).

        75.     On this same webpage, DPH actively solicits complaints against pro-life pregnancy

centers: “Have you been harmed by an anti-abortion center? If you have been to an anti-abortion

center, or ‘crisis pregnancy center,’ and have concerns about your experience, learn how you can

file a civil rights complaint.” Id.

        76.     DPH’s “Anti-abortion clinic” webpage links to another government webpage --

“Anti-Abortion Center Awareness Campaign: Social Media Toolkit (English).” This page is

offered by the Bureau of Community Health and Prevention and the Department of Public Health.

(Attached as Exhibit O).

        77.     On this webpage, DPH states the following without factual basis:

                 [Pro-life centers] may look like medical facilities but could put your health
        at risk if you’re pregnant.
                 [Pro-life centers], may cause harm to individuals looking for pregnancy or
        abortion care.
                 [Pro-life centers] . . . may mislead pregnant individuals about their options
        ....
                 Avoid [pro-life] centers. They may mislead you or delay your care.
                 [Pro-life centers] . . . could put your health at risk.
                 [Pro-life centers] are not a safe or trusted place to go for reproductive health
        care.

        78.     In addition to these statements, DPH links from multiple webpages that it operates

and maintains to a list of the “more than 30 [pro-life] centers in Massachusetts.” (See Exhibit O).

        79.     On one of the webpages, DPH states, “Even if you’re not looking for an abortion,

these centers are not a safe or trusted place to go for reproductive health care.” Id.

        80.     The link provided by DPH goes directly to a webpage operated and maintained by

Defendant REN. This webpage is entitled “What Are Anti-Abortion Centers?” What Are Anti-

                                                   15
       Case 1:24-cv-12131-LTS          Document 1         Filed 08/19/24     Page 16 of 32




Abortion      Centers,      repoequitynow.org,        https://reproequitynow.org/about-antiabortion-

centers#:~:text=List%20of%20Anti%2DAbortion%20Centers%20in%20New%20England%3A

(last visited Aug. 19, 2024) (attached as Exhibit P).

               d.        REN’s statements about YOM

       81.     REN receives direct financial support from the state; a budget line item from the

state’s 2023 budget, item 4513-1006, provides money “[f]or family and reproductive health

services; provided, that not less than $1,000,000 shall be expended for a public awareness

campaign to educate providers and the public about crisis pregnancy centers and pregnancy

resource centers and the centers’ lack of medical services; provided further, that the campaign shall

include information on the availability of providers across the commonwealth that provide

legitimate medical and family planning services; provided further, that the campaign shall be

linguistically diverse and culturally competent; and provided further, that not less than $250,000

shall be expended for Reproductive Equity Now, Inc.’s free abortion legal hotline.” An Act Making

Appropriations for the Fiscal Year 2023 to Provide for Supplementing Certain Existing

Appropriations and For Certain Other Activities and Projects, Ch. 2 of Acts of 2023,

https://www.mass.gov/doc/supplemental-budget/download at 5.

       82.     Defendant REN’s webpage lists every pro-life pregnancy center, including

Plaintiff, in New England. (Attached as Exhibit P).

       83.     It identifies all of YOM’s facilities by name.

       84.     Defendant REN has published a “guidebook” on its website (available for

download). CAUTION: This Clinic Does Not Provide Abortion Care: A Guidebook on Identifying

and Taking Action Against Anti-Abortion Centers in New England, Reproductive Equity Now,

https://reproequitynow.org/aac-guidebook, (last visited Aug. 19, 2024) (attached as Exhibit Q).



                                                 16
        Case 1:24-cv-12131-LTS          Document 1      Filed 08/19/24      Page 17 of 32




        85.    Within the guidebook, Defendant REN again lists all the pro-life pregnancy centers

in New England, including Plaintiff’s multiple locations in Massachusetts, and makes false,

unfounded, and baseless statements. Id.

        86.    For example, Defendant Hart Holder addresses the guidebook readers in her

capacity as head of REN, stating: “We created this organizing guide because we recognize that

[pro-life] centers pose a serious threat to unbiased reproductive health care here in New England,”

Id. at 3, and “[t]ogether, we can . . . put a stop to the dangerous and deceptive practices of [pro-

life] centers in our communities.” Id. at 4.

        87.    The guidebook repeats the false claim that “[Pro-life] centers use deceptive

practices to attract patients . . . . They often use disinformation as a way to dissuade people from

accessing abortion care.” Id. at 12.

        88.    Also pictured on page twelve, below these anti-pro-life center statements, is a

Plaintiff YOM’s main center in Revere, MA.

    89. The guidebook lists “8 Ways [Pro-life] Centers Will Try to Deceive You.”

               1) “medical disinformation”
               2) “fear-based language”
               3) “close proximity to legitimate abortion clinics”
               4) “fake service called ‘abortion reversal;”
               5) “names with the words ‘choice,’ ‘choices,’ ‘hope,’ or ‘options.’”
               6) “lie to you about how far along you are in your pregnancy”
               7) “offer abstinence-only sex education, post-abortion support or ‘grief
                  counseling,’ spiritual support, or bible study”
               8) “associated with large, national [pro-life] organizations”

Id. at 13.

        90.    In the guidebook, Defendant REN solicits information from “[p]eople who have

had a negative experience with [pro-life] centers,” instructing them to “call Reproductive Equity




                                                17
       Case 1:24-cv-12131-LTS           Document 1       Filed 08/19/24       Page 18 of 32




Now’s free and confidential Abortion Legal Hotline at 833-309-6301 to report their case and be

referred to pro bono attorneys.” Id. at 20.

       91.     This solicitation does not limit its request to information from “patients” of pro-life

centers.

       92.     This is the same Hotline that receives direct financial support from the

Commonwealth.

       93.     The guidebook then instructs that “[p]atients in Massachusetts can also file a report

with the Attorney General Office’s Civil Rights Division,” and provides contact information as

well as instructions on filing a nurse or physician “complaint with the Commonwealth to initiate

an investigation.” Id.

       94.     Defendant REN also states, “we’ve seen Massachusetts conduct several

investigations into [pro-life] centers based on Reproductive Equity Now’s complaints.” Id.

       95.     The guidebook links to two complaints, one of which is its complaint against

Plaintiff YOM. Id.

       96.     In an article dated January 5, 2024, Defendant Holder was quoted as saying, “Anti-

abortion centers pose a serious threat to pregnant people seeking unbiased reproductive health

care in Massachusetts . . . . I do really want to thank Commissioner Goldstein for his bold

leadership and really look forward to continuing our work together to combat these centers.”

Sam Turken, State Department of Public Health Warns Anti-Abortion Centers Against Using

Deceptive Tactics, wgbh.org (Jan 5, 2024), https://www.wgbh.org/news/2024-01-05/state-

department-of-public-health-warns-anti-abortion-centers-against-using-deceptive-tactics

(emphasis added) (attached as Exhibit J).




                                                 18
        Case 1:24-cv-12131-LTS         Document 1        Filed 08/19/24   Page 19 of 32




        97.     In a Department of Health and Human Services press release dated June 10, 2024,

Defendant Hart Holder stated, “Massachusetts is putting power in the hands of our communities

by alerting them to the dangers of deceptive anti-abortion centers. . . . We’re so proud that the

Healey-Driscoll Administration is addressing this public health threat head-on, and we have

been honored to work with the Massachusetts Department of Public Health on the creation of this

first-in-the-nation public education campaign. Together, we can combat anti-abortion centers’

predatory practices . . . .” Press Release, Healey-Driscoll Administration Launches First-in-the-

Nation Public Education Campaign on the Dangers of Anti-Abortion Centers, Executive Office of

Health and Human Services (June 10, 2024), https://www.mass.gov/news/healey-driscoll-

administration-launches-first-in-the-nation-public-education-campaign-on-the-dangers-of-anti-

abortion-centers (emphasis added).

        98.     Defendant Hart Holder has also stated about PRCs that “They’re here, they’re

dangerous . . . this campaign is about putting power in the hands of people by calling out anti-

abortion centers’ deceptive and dangerous practices.” https://www.wgbh.org/news/politics/2024-

06-10/mass-officials-launch-information-campaign-warning-against-anti-abortion-centers.

   V.         CAUSES OF ACTION

                                               COUNT I

              Violation of Plaintiff’s First Amendment Right to Freedom of Speech
                             (U.S. Const. amend. I; 42 U.S.C. § 1983)
                                  (Claim Against all Defendants)

        99.     Plaintiff repeats, realleges, and incorporates by reference herein all preceding

paragraphs as though fully set forth herein.




                                                 19
       Case 1:24-cv-12131-LTS           Document 1        Filed 08/19/24      Page 20 of 32




        100.    Pursuant to 42 U.S.C. § 1983, Plaintiff YOM brings this claim against Defendants

for acting under color of state law to deprive its of its First Amendment right to free speech as

guaranteed by the U.S. Constitution.

        101.    Insofar as this claim seeks damages, it is brought against the State Defendants in

their individual capacities. Insofar as it seeks injunctive relief, it is brought against them in their

official capacities.

        102.    The conduct of the State Defendants constituted a violation of YOM’s clearly

established free speech rights such that every reasonable State official in similar circumstances

would have understood that the conduct violated YOM’s constitutional rights; actively seeking

complaints against PRCs in a targeted campaign of harassment, threats, and unequal enforcements

based on political and religious viewpoint is a clear constitutional violation that is closely

analogous with the constitutional violations in past cases.

        103.    This claim is also brought against REN and Executive Director Holder, as they

acted under the color of law. REN and Executive Director Holder acted as the trusted partner of

the State, with State funding and support, and in explicit partnership in this campaign as a joint

action with Massachusetts officials.

        104.    It is clearly established that First Amendment rights can be violated by the chilling

effect of governmental action that engages in viewpoint-discriminatory implicit threats.

        105.    As delineated above, each of the named State Defendants individually engaged in

these threats. Governor Healey publicly claimed that PRCs engage in deceptive and dangerous

tactics and as Attorney General issued the advisory that falsely accused PRCs of deceptive

advertising. Commissioner Goldstein exercised his authority to accuse PRCs of wrongdoing,




                                                  20
       Case 1:24-cv-12131-LTS            Document 1        Filed 08/19/24      Page 21 of 32




threatening them with legal action, and making public statements such as, “As the commissioner

of public health, I’m resolute about calling out this deception for what it is: a public health threat.”

          106.   The Constitution prohibits the government from “abridging the freedom of speech.”

This prohibition applies to state governments and state government officials through the

Fourteenth Amendment.

          107.   The First Amendment ensures that government officials may not rely on the threat

of invoking legal sanctions and other means of coercion to achieve the suppression of disfavored

speech.

          108.   Four factors have been used to determine whether government speech crosses the

line from persuasion to coercion, under a totality-of-the-circumstances standard where no single

factor is dispositive: “(1) word choice and tone; (2) the existence of regulatory authority; (3)

whether the speech was perceived as a threat; and, perhaps most importantly, (4) whether the

speech refers to adverse consequences.” NRA of Am. v. Vullo, 602 U.S. 175, 189 (2024).

          A.     Word Choice

          109.   Defendants’ choice of words goes far beyond mere disagreement or criticism; the

State has repeatedly accused PRCs of illegal behavior like deception, misrepresentation, and fraud.

The State has publicly accused YOM of actionable misconduct.

          110.   For example, State advertisements regularly refer to PRCs like Plaintiff YOM as

engaging in “deceptive advertising.” The term “Deceptive Advertising” is a term of art;

Massachusetts law prohibits medical advertising “that is false, deceptive, or misleading.” 243

Mass. Code Regs. 2.07(11)(a)(1). That term of art is applied by the State when an entity or

individual has been found to engage in misconduct. Here, the State has applied that label

categorically to all PRCs of the same viewpoint, regardless of any actual wrongdoing.



                                                  21
       Case 1:24-cv-12131-LTS              Document 1   Filed 08/19/24      Page 22 of 32




       111.    These labels of wrongdoing have been applied to Plaintiff YOM despite the fact

that a recent investigation expressly cleared it of these very accusations and found that Plaintiff

YOM is not engaging in deceptive advertising.

       112.    The State Defendants are simultaneously clearing Plaintiff YOM through formal

investigations and continuing to classify Plaintiff YOM publicly as a wrongdoer.

       113.    These targeted, false, and baseless accusations established a system of informal

censorship designed to suppress the pro-life viewpoint of Plaintiff YOM with the intent to obstruct,

chill, deter, and retaliate against Plaintiff YOM’s speech. These actions demonstrate that the State

will continue to target YOM regardless of its legal compliance.

       114.    Defendants’ actions constitute a concerted effort to deprive PRCs like YOM of their

freedom of speech by threatening government prosecution against those PRCs that refuse to

provide, refer for, or endorse abortion.

       B.      The Existence of Regulatory Authority

       115.    The relevant facts herein demonstrate that the full authority of the State has been

leveraged against Plaintiff YOM thereby posing a clear unconstitutional threat.

       116.    Here the statements at issue come directly from the State authorities with the

relevant regulatory authority, such as the Governor, Attorney General, and the head of DPH. When

they threaten the existence of PRCs and warn people to stay away, they do so with the force of

law.

       117.    Defendants have regulatory authority over medical facilities, including Plaintiff

YOM as a medically licensed facility. They have exercised that authority to engage in blatant

viewpoint discrimination.




                                                 22
       Case 1:24-cv-12131-LTS           Document 1      Filed 08/19/24     Page 23 of 32




       118.    Massachusetts State officials used communications and their power to single out

and smear PRCs with disfavor to the public.

       C.      The Speech Was Perceived as a Threat

       119.    Here, Massachusetts State officials used their power to single out PRCs via

communications and enforcement actions for disfavor.

       120.    Defendants’ statements, which warn against the existence of PRCs as public health

threats and accuse them of criminal conduct, would cause a reasonable person to perceive such

statements as a threat against those centers.

       121.    Plaintiff YOM did in fact perceive Defendants’ statements to be such a threat.

       122.    As a direct, immediate, and foreseeable result of Defendants’ threats, one of

Plaintiff YOM’s doctors quit providing services for YOM.

       123.    Losing a doctor caused direct, tangible injury to YOM in that patients had to be

turned away and denied care.

       124.    Because of Defendants’ threats, Plaintiff YOM anticipates that it may no longer be

able to provide its services and be forced to shut down as a result of the viewpoint discrimination

it is experiencing.

       D.      Defendants’ Speech Referenced Adverse Consequences

       125.    Defendants’ threats against PRCs have repeatedly threatened adverse consequences

against them, on the basis of the viewpoint of YOM and other PRCs.

       126.    For example, the statement “The Department of Public Health actively seeks

feedback and complaints from individuals who have had concerning experiences with anti-

abortion centers” calls for viewpoint-discriminatory complaints, complaints based ultimately on

political disagreement rather than any wrongdoing. In making this statement, the State Defendants



                                                23
        Case 1:24-cv-12131-LTS          Document 1      Filed 08/19/24     Page 24 of 32




proclaimed that they are “actively” seeking reports and complaints against only one kind of clinic:

PRCs.

        127.   In addition, read in context, Defendant Goldstein’s January 3, 2024, memorandum

to healthcare professionals warned pro-life doctors, nurses, and other healthcare providers that

their licenses would be in jeopardy if they worked with PRCs.

        128.   Defendants’ other public statements likewise call explicitly for reports to be

submitted and complaints filed against PRCs.

        129.   The State Defendants’ conduct is unconstitutional coercion and threatens Plaintiff

YOM because of its moral, religious, philosophical, and political views.

        130.    These threats have unconstitutionally chilled Plaintiff YOM’s speech as it

continues to be targeted with abnormally high enforcement measures because of its pro-life

viewpoint.

        131.   Defendants’ unlawful and intentional actions are not justified by a substantial or

compelling government interest and are not narrowly tailored to serve any such interest.

        132.   Defendants’ intentional actions resulted in significant damages to Plaintiff YOM,

including but not limited to damages due to reputational harm, increased costs for security and

safety, and loss to YOM.

        133.   In addition to the above-described damages, absent an injunction against

Defendants, Plaintiff YOM will suffer irrecoverable loss and irreparable harm. All of the above

injuries are ongoing; the campaign of harassment against PRCs continues and will continue unless

the irrevocable injuries it is causing are stopped.




                                                  24
       Case 1:24-cv-12131-LTS           Document 1        Filed 08/19/24      Page 25 of 32




                                               COUNT II

               Violation of Plaintiff’s First Amendment Right to Free Exercise of Religion
                             (U.S. Const. amend. I; 42 U.S.C. § 1983)
                                  (Claim Against all Defendants)

        134.     Plaintiff repeats, realleges, and incorporates by reference herein all preceding

paragraphs as though fully set forth herein.

        135.     This claim is brought against all Defendants.

        136.     Pursuant to 42 U.S.C. § 1983, YOM brings this claim against Defendants for acting

under color of state law to deprive its of its First Amendment right to free exercise of religion as

guaranteed by the U.S. Constitution.

        137.     Insofar as this claim seeks damages, it is brought against the State Defendants in

their individual capacities. Insofar as it seeks injunctive relief, it is brought against them in their

official capacity.

        138.     The conduct of the State Defendants constituted a violation of YOM’s clearly

established Free Exercise rights such that every reasonable state official in similar circumstances

would have understood that the conduct violated YOM’s constitutional rights; the Defendants

targeted PRCs explicitly because of their religious speech with conduct that had a vastly

disproportionate effect on religious PRCs.

        139.     This claim is also brought against REN and Executive Director Holder, as they

acted under the color of the State law. REN and Executive Director Holder acted as the trusted

partner of the State, with State funding and support, and in explicit partnership as a joint action

with Massachusetts officials.




                                                  25
       Case 1:24-cv-12131-LTS           Document 1       Filed 08/19/24      Page 26 of 32




       140.    The First Amendment prohibits the government from burdening the “free exercise

of religion.” This prohibition applies to state and local governments through the Fourteenth

Amendment.

       141.    Under the Free Exercise Clause, state actions that single out religious entities for

disfavored treatment must survive the most rigorous scrutiny. Government fails to act neutrally

and in a generally applicable fashion when it restricts practices because of their religious nature.

       142.    Plaintiff YOM is motivated by religious faith; as discussed above, its public

statement acknowledges that fact and emphasizes that it provides its aid out of a religious

motivation.

       143.    Other PRCs are likewise motivated by and driven by their religious faith and belief.

       144.    Defendants’ advertising campaign described above was motivated by the religious

faith and belief of PRCs.

       145.    Government conduct must be facially neutral and generally applicable towards

religious practice.

       146.    The actions of the State Defendants are explicitly and facially targeted at the

religious activity of PRCs: “Most centers are affiliated with national advocacy or religious

organizations that provide funding and support to advance an anti-abortion agenda.”

https://www.mass.gov/news/maintaining-integrity-accessibility-and-transparency-in-

reproductive-care.

       147.    On its face, Defendants’ conduct is neither neutral nor generally applicable, but

targets Plaintiff YOM because of its religious faith.




                                                 26
       Case 1:24-cv-12131-LTS          Document 1       Filed 08/19/24      Page 27 of 32




        148.    The Free Exercise Clause protects against governmental hostility towards religions

that is not only overt, but masked. This can be determined through evidence of an effect caused by

non-neutral government conduct.

        149.   Here, the adverse effect of the government’s conduct is that religious PRCs have

been singled out for disparate treatment because of their religious expression.

        150.   Massachusetts PRCs, such as Plaintiff YOM, are being targeted to chill or stamp

out the exercise of those beliefs.

        151.   The effect of Defendants’ conduct is to single out religious clinics for disparate

treatment, compared with secular medical clinics that do provide abortions.

        152.   There are 21 PRC entities in Massachusetts. Of the 21 PRC centers, 19 are either

certainly or likely faith-based, based on the language from their organizational documents and

public statements. In other words, more than 90 percent of the entities targeted by Defendants are

religious.

        153.   Accordingly, the real operation and effect of the Massachusetts policy is to single

out for discriminatory treatment pro-life PRCs, the overwhelming majority of which are faith-

based and adhere to religious views about the sanctity of human life. The effect of the policy is

exactly what governmental authorities intended.

        154.   The entire category of reproductive care clinics has not been targeted by

Defendants, only those that promote childbirth rather than abortion.

        155.   The underlying assumption of the policy is that only those PRCs that promote the

sanctity of human life are likely to engage in unethical conduct; and that belief in the sanctity of

human life is, for YOM, a religious one.




                                                27
       Case 1:24-cv-12131-LTS            Document 1       Filed 08/19/24      Page 28 of 32




        156.    The State’s purported interest is fabricated to hide the true purpose of suppressing

PRCs’ religious mission to promote the sanctity of human life and support mothers in crisis

pregnancies.

        157.    The operative effect of the Massachusetts policy is to harass and undermine PRCs,

including Plaintiff YOM, because of their religious viewpoint affirming the sanctity of human life.

        158.    Defendants’ unlawful and intentional actions are not justified by a substantial or

compelling government interest and are not narrowly tailored to serve any such interest.

                                            COUNT III

                     Violation of Plaintiff’s Fourteenth Amendment Right to
                                   Equal Protection of the Law
                             (U.S. Const. amend. I; 42 U.S.C. § 1983)
                                  (Claim Against all Defendants)

        159.    Plaintiff repeats, realleges, and incorporates by reference herein all preceding

paragraphs as though fully set forth herein.

        160.    The Fourteenth Amendment to the United States Constitution guarantees Plaintiff

the equal protection of the laws, which prohibits Defendants from treating Plaintiff differently than

similarly situated medical facilities.

        161.    Insofar as this claim seeks damages, it is brought against the State Defendants in

their individual capacities. Insofar as it seeks injunctive relief, it is brought against them in their

official capacity.

        162.    The conduct of the State Defendants constituted a violation of YOM’s clearly

established Equal Protection rights such that every reasonable state official in similar

circumstances would have understood that the conduct violated YOM’s constitutional rights; the

Defendants discriminated against PRCs like YOM explicitly because of their religious and political




                                                  28
       Case 1:24-cv-12131-LTS           Document 1       Filed 08/19/24     Page 29 of 32




speech and punished YOM for its exercise of constitutional rights, engaging in viewpoint-based

official harassment.

       163.      This claim is also brought against REN and Executive Director Hart Holder, as they

acted under the color of law. REN and Executive Director Hart Holder acted as the trusted partner

of the State, with State funding and support, and in explicit partnership as a joint action with

Massachusetts officials.

       164.      The government may not treat someone disparately as compared to similarly

situated persons when such disparate treatment burdens a fundamental right, targets a suspect class,

or has no rational basis.

       165.      The conduct of the government here expressly distinguishes the speech of PRCs for

disparate treatment. Accordingly, such conduct is presumptively invalid.

       166.      No extraordinary or adequate justification exists for such viewpoint-based

discrimination.

       167.      Defendants knowingly and willfully violated Plaintiff YOM’s equal protection

rights by seeking to selectively enforce regulations against YOM, applying an unequal standard

on YOM, and imposing unjustified investigations.

       168.      DPH has targeted YOM for disproportionate investigation on the basis of its

viewpoint.

       169.      Although zero patient complaints have ever been lodged with Defendants against

YOM, Defendants directed threats against YOM and other PRCs and claimed they are a danger to

public health.




                                                 29
       Case 1:24-cv-12131-LTS          Document 1       Filed 08/19/24     Page 30 of 32




       170.    Similarly situated entities that do not share the same viewpoint as YOM, that is,

abortion providers, do not receive the same scrutiny from Defendants. These entities are closely

comparable to YOM, with the only possible basis for a distinction being the differing viewpoint.

       171.    Defendants knew or should have known of similarly situated entities at the time

they engaged in their investigations and any purported lack of such knowledge was due to a “see-

no-evil” policy of enforcement.

       172.    Defendants discriminated against Plaintiff YOM and PRCs because of their

personal animus against PRCs and Defendants’ commitment to a contrary viewpoint.

       173.    The disparate treatment of YOM-related programs and the comparators was caused

by Defendants’ intent to punish and/or inhibit YOM because of YOM’s constitutionally protected

viewpoint.

       174.    Defendants’ selective enforcement against YOM and similar groups has been

knowing, willful, arbitrary, capricious, unreasonable, discriminatory, and undertaken in bad faith

and without a rational basis.

       175.    Defendants’ conduct does not further any compelling or even legitimate

government interest.

       176.    Defendants’ selective enforcement actions against YOM and similar organizations

are based on YOM’s and other PRCs’ views and speech relating to the sanctity of life. These

considerations are impermissible bases for an enforcement action.

       177.    Defendants’ actions have resulted in significant damages to YOM, conduct directly

attributable to this selective and discriminatory enforcement.




                                                30
             Case 1:24-cv-12131-LTS           Document 1        Filed 08/19/24    Page 31 of 32




                                           PRAYER FOR RELIEF

             Wherefore, Plaintiff respectfully requests the following relief:

(A)   A declaratory judgment pursuant to 28 U.S.C. § 2201, that Defendants have violated YOM’s rights

      to free speech, due process, and equal protection under the United States Constitution for targeting

      YOM on account of its viewpoints and speech;

(B)   A permanent injunction ordering the Defendants, their agents, representatives, employees, servants

      and all persons and entities in concert or participation with them from ceasing any advertising

      activity or campaign that falsely accuses YOM of misconduct or of being a threat to public health

      and thereby has the purpose or effect of interfering with YOM’s exercise of the rights protected by

      the First Amendment to the United States Constitution;

(C)   Compensatory or, in the alternative, nominal damages for the violation of Plaintiff’s protected

      constitutional rights;

(D)   Plaintiff’s reasonable attorneys’ fees, costs, and other costs and disbursements in this action

      pursuant to 42 U.S.C. § 1988; and

(E)   All other further relief to which Plaintiff may be entitled.

                                               JURY DEMAND

      Plaintiff demands trial by jury on all claims and issues to triable.

      DATED: August 19, 2024.

                                                     Respectfully submitted,

                                                     SAMUEL J. WHITING
                                                     /s/ Samuel J. Whiting
                                                     MASSACHUSETTS LIBERTY LEGAL CENTER
                                                       (Massachusetts Bar No. 711930)
                                                     sam@malibertylegal.org

                                                     JORDAN SEKULOW*
                                                       (D.C. Bar No. 991680)

                                                        31
Case 1:24-cv-12131-LTS    Document 1      Filed 08/19/24     Page 32 of 32




                                STUART J. ROTH*
                                 (D.C. Bar No. 475937)
                                ANDREW EKONOMOU*
                                 (GA Bar No. 242750)
                                OLIVIA F. SUMMERS*
                                 (D.C. Bar No. 1017339)
                                CHRISTINA (STIERHOFF) COMPAGNONE*
                                 (D.C. Bar No. 1657929)
                                NATHAN MOELKER*
                                 (VA Bar No. 98313)

                                THE AMERICAN CENTER FOR LAW & JUSTICE
                                201 Maryland Avenue, NE
                                Washington, D.C. 20002
                                Telephone: (202) 546-8890
                                Facsimile: (202) 546-9309
                                osummers@aclj.org

                         * Not licensed in this court, PHV motions forthcoming.




                                  32
